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From:              James Valvo
To:                Grace Agyekum
Cc:                Kevin Schmidt
Subject:           RE: FOIA Request for BIS 19-088
Date:              Friday, August 16, 2019 4:49:00 PM
Attachments:       image001.png


Ms. Agyekum,

I have not heard back from you. Does Commerce intend to release the uranium report?

Thank you,
James


From: James Valvo
Sent: Wednesday, August 14, 2019 8:33 AM
To: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

I still have not seen the uranium report that is responsive to our FOIA request. Will you please
make that report available?

Thank you,
James


From: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Sent: Monday, July 15, 2019 2:19 PM
To: James Valvo <James.Valvo@causeofaction.org>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Hello Mr. Valvo:

The executive summary will be printed in the FR within the next 30 days and the full report will be on
the BIS website. Please feel free to contact me after the next days if the report is still not found.


Thank you,

Grace

Grace Agyekum
Bureau of Industry and Security/DOC
Office of Planning, Evaluation & Management
CFO & DOA, Room 6521
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1401 Constitution Avenue, N.W.
Washington, DC 20230
Telephone: 202-482-7893
Email: grace.agyekum@bis.doc.gov



From: James Valvo <James.Valvo@causeofaction.org>
Sent: Monday, July 15, 2019 11:25 AM
To: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

I am emailing to follow up on Commerce’s final determination on request BIS 19-088. You
previously informed Cause of Action Institute that you intended to produce the report and that it
would be available “after the President’s review is complete.”

As you may know, on July 12, 2019, the White House issued a memorandum summarizing that it
had completed its review of the effects of uranium imports on national security. That memorandum
is available on the White House’s website here: https://www.whitehouse.gov/presidential-
actions/memorandum-effect-uranium-imports-national-security-establishment-united-states-
nuclear-fuel-working-group/

Although we do not recognize the delay between Commerce’s May 16 final determination of our
FOIA request and the President’s review of the report as a valid basis to delay a FOIA request, that
excuse for non-production is no longer present. Accordingly, will Commerce now produce the report
to us?

Thank you,

James Valvo | Counsel & Senior Policy Advisor
1875 Eye Street, NW, Suite 800
Washington, DC 20006
james.valvo@causeofaction.org
202-417-3576




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Thank you.


From: James Valvo
Sent: Thursday, May 16, 2019 11:42 AM
             Case 1:19-cv-02698 Document 1-6 Filed 09/09/19 Page 3 of 4


To: Grace.Agyekum@bis.doc.gov
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

Thank you for providing a final determination on request BIS 19-088. In the letter, the agency
states that it “intend[s] to provide all non-exempt documents responsive to [the] request.” We
interpret this as a grant of our request, subject to the proper application of statutory exemptions.

As you know, the FOIA statute provides that upon determining that an agency will grant a request,
an agency “shall make the records promptly available[.]” 5 U.S.C. § 552(a)(3)(A) (emphasis added).
When does the Department of Commerce intend to produce the records responsive to this request to
Cause of Action Institute?

Thank you,

James Valvo | Counsel & Senior Policy Advisor
1875 Eye Street, NW, Suite 800
Washington, DC 20006
james.valvo@causeofaction.org
202-417-3576




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communication to the sender and delete the original message and any copy of it from your computer system.
Thank you.


From: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Sent: Thursday, May 16, 2019 10:47 AM
To: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: FOIA Request for BIS 19-088

Dear Mr. Schmidt:

Attached, please find a response letter to your request. Feel free to contact me if you have
any questions.

Thank you,

Grace Agyekum
FOIA Officer and Public Liaison
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Bureau of Industry and Security (BIS) | OCFO&DOA
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